                   Case 1:18-cv-00508-RC Document 362-2 Filed 07/01/21 Page 1 of 2



FY 20 Age Outs Summary
Source: ICE JFRMU SharePoint data of03/12i2021


Total FY 20 Count by Month                                                        Total FY 20 Count by AOR
                                                                                                 Q, Q�<,11; !1:1 �

    Month                                                          Total            AOR                                         Total
                Detained Not Detained % Detained % Not Detained                             Detained             Not Detained
October                 15             65        19%         81%       80         BAL                    -                  4        4
November                10             54        16%         84%       64         BOS                    -                  1        1
December                19             39        33%         67%       58         CHI                   1                  19       20
January                 18             47        28%         72%       65         DEN                    -                  1        1
February                 7             24        23%         77%       31         DET                    -                  3        3
March                   25             28        47%         53%       53         ELP                18                    10       28
April                    7             32        18%         82%       39         HOU                23                    28       51
May                      1             22         4%         96%       23         LOS                 5                     9       14
June                     3             20        13%         87%       23         MIA                 1                     4        5
July                     1             19         5%         95%       20         NEW                    -                  3        3
August                   1              9        10%         90%       10         NYC                   6                  13       19
September                              24         0%        100%       24         PHI                    -                 11       11
Total                  107            383        22%         78%      490         PHO                24                    38       62
                                                                                  SEA                 1                     3        4
                                                                                  SFR                 3                     5        8
                                                                                  SNA                 8                    97      105
                                                                                  SNA-HRO            14                   112      126
                                                                                  SND                    -                  7        7
                                                                                  WAS               3                      15       18
                                                                                  Total           107                     383      490




                                                       ICE POST TRIAL - 0009564
                     Case 1:18-cv-00508-RC Document 362-2 Filed 07/01/21 Page 2 of 2



FY 21 YTD Age Outs Summary
Source: ICE JFRl'v!U SharePoint data of06/l 1/2021

Total FY 21 YTD Count by Month                                                                  Total FY 21 YTD Count by AOR
                                                                                                          � ��C _, ,!'Q, � �'fJcR ii!- ;_   ;;. 1Kg igK� IK1�
  Month                                                                          Total            AOR                                                                 Total
                 Detained Not Detained % Detained % Not Detained                                           Detained                         Not Detained
October                 2             29              6%                  94%        31         BAL                                     -                         3        3
November                              29              0%                 100%        29         BOS                                     -                         1        1
December                2             57              3%                  97%        59         CHI                                     -                         6        6
January                               57              0%                 100%        57         DAL                                     -                        29       29
February                              85              0%                 100%        85         DET                                     -                         8        8
March                                115              0%                 100%       115         ELP                                     -                       165      165
April                                265              0%                 100%       265         HOU                                   1                          80       81
May                                  206              0%                 100%       206         LOS                                     -                        13       13
Total                   4            843              1%                 99%        847         MIA                                     -                        15       15
                                                                                                NOL                                     -                         1        1
                                                                                                NYC                                     -                        16       16
                                                                                                PHI                                     -                         2        2
                    Total Age Outs by Month by Fiscal Year                                      PHO                                     -                        43       43
 300                                                                                            SEA                                     -                         2        2
                                                      265
 250
                                                                                                SFR                                     -                         2        2
                                                             206                                                                       2                        136      138
                                                                                                SNA
 200
                                                                                                SNA-HRO                                 -                       268      268
 150
                                             115                                                SND                                     -                        43       43



        l� i
             1
        80                                                                                                                            1                          10       11
 100                                                                                            WAS
  so                                                               23                     24
                                                                                                Total                                 4                         843      847
                                                                           20      lO
   0                                                               ITT      rn            ITT




                                        m FV 20      FY 21




                                                             ICE POST TRIAL - 0009565
